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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )           8:08CR351
                     Plaintiff,                  )
                                                 )
       vs.                                       )              ORDER
                                                 )
JOHN ST. CYR and                                 )
JOSEPH SNOWBALL,                                 )
                                                 )
                     Defendants.                 )
       This matter is before the court on the motion to continue by defendant Joseph
Snowball (Snowball) (Filing No. 47). Snowball seeks a continuance of the trial of this
matter which is scheduled for January 5, 2009. Snowball has submitted an affidavit
wherein he represents that he consents to the motion and acknowledges he understands
the additional time may be excludable time for the purposes of the Speedy Trial Act (Filing
No. 48). Snowball’s counsel represents that government’s counsel has no objection to the
motion. Upon consideration, the motion will be granted.


       IT IS ORDERED:
       1.     Snowball's motion to continue trial (Filing No. 47) is granted.
       2.     Trial of this matter is re-scheduled for February 2, 2009, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
December 30, 2008 and February 2, 2009, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendants' counsel require additional time to adequately prepare the case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B).
       DATED this 30th day of December, 2008.
                                                 BY THE COURT:
                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
